Case 2:15-cv-07932-JAK-FFM Document 14 Filed 02/19/16 Page 1 of 11 Page ID #:120



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    5
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    6 ESTATE OF NORMA GUZMAN, by and
        through successor in interest, GLORIA
    7 GONZALEZ, and GLORIA
        GONZALEZ, individually
    8
    9
                             UNITED STATES DISTRICT COURT
   10
                            CENTRAL DISTRICT OF CALIFORNIA
   11
   12                                   )       Case Number: 15-CV-7932 JAK
      ESTATE OF NORMA GUZMAN, by        )       (FFM)
   13 and through successor in interest )
      GLORIA GONZALEZ, and GLORIA       )
   14 GONZALEZ, individually,           )
                                        )       FIRST AMENDED COMPLAINT
   15                  Plaintiffs,      )       FOR DAMAGES
                                        )
   16                  vs.              )       1. Excessive Force/Unreasonable
                                        )          Seizure (42 U.S.C. § 1983);
   17   CITY OF LOS ANGELES, DOE        )       2. Municipal Liability for
        OFFICERS 1 THROUGH 5 AND        )          Unconstitutional Custom, Practice,
   18   DOES 6 THROUGH 10, INCLUSIVE, )
                                        )          or Policy (42 U.S.C. § 1983);
   19                                   )       3. Substantive Due Process Violation
                       Defendants.      )          (42 U.S.C. § 1983);
   20                                   )
        _______________________________ )
   21                                           DEMAND FOR JURY TRIAL
   22
   23
                                    COMPLAINT FOR DAMAGES
   24
               COME NOW PLAINTIFFS ESTATE OF NORMA GUZMAN, by and through
   25
        successor in interest GLORIA GONZALEZ and GLORIA GONZALEZ, individually,
   26
        and allege as follows:
   27
        ////
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Case 2:15-cv-07932-JAK-FFM Document 14 Filed 02/19/16 Page 2 of 11 Page ID #:121



    1                                   INTRODUCTION
    2 1.     This civil rights action seeks to establish the true and unequivocal facts
    3        surrounding the shooting and killing of Norma Guzman by City of Los
    4        Angeles police officers and to establish the violations of fundamental rights
    5        under the United States Constitution in connection with the shooting and
    6        killing of Norma Guzman on September 27, 2015.
    7 2.     Norma Guzman was a loving daughter. Her death has been a profound and
    8        unimaginable loss to her mother, the present plaintiff Gloria Gonzalez.
    9 3.     Without reasonable cause, defendant DOE OFFICERS shot and killed
   10        Norma Guzman from a distance of approximately 10 feet. The shooting was
   11        absolutely unjustified and it is plaintiffs’ goal to show that the killing of
   12        Norma Guzman was a senseless and unwarranted act of police abuse.
   13                                        PARTIES
   14 4.     At all relevant times, Norma Guzman ("decedent") was an individual
   15        residing in the City of Los Angeles, California. The claims made by the
   16        ESTATE OF NORMA GUZMAN, are brought by Gloria Gonzalez, the
   17        successor in interest to the Estate of Norma Guzman pursuant to California
   18        Code of Civil Procedure § 377.32.
   19 5.     Plaintiff Gloria Gonzalez is and was, at all times relevant hereto, a resident
   20        of the City of Los Angeles, and is the mother of decedent Norma Guzman.
   21 6.     Defendant City of Los Angeles (hereafter, “CITY”), is and, at all times
   22        mentioned herein, was a public entity, duly organized and existing under and
   23        by virtue of the laws of the state of California, with the capacity to sue and
   24        be sued. Defendant CITY is responsible for the actions, omissions, policies,
   25        procedures, practices and customs of its various agents and agencies. At all
   26        times relevant to the facts alleged herein, Defendant CITY was responsible
   27        for assuring that the actions, omissions, policies, procedures, practices and
   28        customs of its employees complied with the laws and the Constitutions of the

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Case 2:15-cv-07932-JAK-FFM Document 14 Filed 02/19/16 Page 3 of 11 Page ID #:122



    1        United States and of the State of California.
    2 7.     The City of Los Angeles Police Department (hereinafter “LAPD”) is a
    3        subdivision of defendant City of Los Angeles.
    4 8.     Defendant DOE Officers 1 through 5 are police officers working for the
    5        LAPD. They are sued in their official and individual capacity. At all times
    6        relevant to the present action, defendant DOE Officers 1 through 5 were
    7        acting under the color of law, to wit, under the color of the statutes,
    8        ordinances, regulations, policies, customs, and usages of defendant CITY
    9        and the LAPD, as well as under the color of the statutes and regulations of
   10        the State of California.
   11 9.     At all relevant times, each of DOES 6 through 10 were employees of the
   12        LAPD. At all times relevant herein, each of DOES 6 through 10 was an
   13        employee and/or agent of defendant CITY and he or she acted under color of
   14        law, to wit, under the color of the statutes, ordinances, regulations, policies,
   15        customs, and usages of Defendant CITY and the LAPD, as well as under the
   16        color of the statutes and regulations of the State of California.
   17 10.    At all relevant times, each of the Defendants DOES 6 through 10 was acting
   18        within his or her capacity as an employee, agent, representative and/or
   19        servant of CITY and are sued in their individual capacities.
   20 11.    On information and belief, at all relevant times, defendant DOE Officers 1
   21        through 5 and DOES 6 through 10, inclusive, were residents of City of Los
   22        Angeles, California.
   23 12.    The true names of defendants DOE Officers 1 through 5 and DOES 6
   24        through 10, inclusive, are unknown to Plaintiffs, who therefore sues these
   25        defendants by such fictitious names. Plaintiffs will seek leave to amend this
   26        complaint to show the true names and capacities of these defendants when
   27        they have been ascertained. Each of the fictitious named defendants is
   28        responsible in some manner for the conduct and liabilities alleged herein.

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Case 2:15-cv-07932-JAK-FFM Document 14 Filed 02/19/16 Page 4 of 11 Page ID #:123



    1 13.    Each of the Defendants caused and is responsible for the unlawful conduct
    2        and resulting by, inter alia, personally participating in the conduct, or acting
    3        jointly and in concert with others who did so; by authorizing, acquiescing or
    4        failing to take action to prevent the unlawful conduct; by promulgating
    5        policies and procedures pursuant to which the unlawful conduct occurred; by
    6        failing and refusing, with deliberate indifference to Plaintiffs’ and decedent's
    7        rights, to initiate and maintain adequate supervision and/or training; and, by
    8        ratifying the unlawful conduct that occurred by agents and peace officers
    9        under their direction and control. Whenever and wherever reference is made
   10        in this Complaint to any act by a Defendant, such allegation and reference
   11        shall also be deemed to mean the acts and failures to act of each Defendant
   12        individually, jointly and severally. They are sued in their individual and
   13        official capacities and in some manner are responsible for the acts and
   14        omissions alleged herein. Plaintiffs will ask leave of this Court to amend this
   15        Complaint to allege such name and responsibility when that information is
   16        ascertained. Each of the Defendants is the agent of the other.
   17                           JURISDICTION AND VENUE
   18 14.    This civil action is brought for the redress of alleged deprivations of
   19        constitutional rights as protected by 42 U.S.C. §§ 1983, 1985, 1986, 1988,
   20        the Fourth and Fourteenth Amendments of the United States Constitution.
   21        Jurisdiction is founded on 28 U.S.C. §§ 1331, 1343, and 1367.
   22 15.    Venue is proper in this Court under 28 U.S.C. § 1391(b), because defendants
   23        reside in, and all incidents, events, and occurrences giving rise to this action
   24        occurred in, City of Los Angeles, California.
   25               FACTS COMMON TO ALL CLAIMS FOR RELIEF
   26 16.    Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
   27        through 15 of this Complaint with the same force and effect as if fully set
   28        forth herein.

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Case 2:15-cv-07932-JAK-FFM Document 14 Filed 02/19/16 Page 5 of 11 Page ID #:124



    1 17.    Norma Guzman was 37 years old at the time of her death. She was known in
    2        the community as someone who suffered from mental illness. Norma
    3        Guzman was also known in the community to be completely harmless.
    4 18.    On Sunday, September 27, 2015, at approximately, 9:30 a.m., an unknown
    5        person called 911 reporting someone in the area of East 22nd Street and South
    6        San Pedro, South Los Angeles acting irregularly. Defendant DOE Officers 1
    7        and 2 approached the area on northbound S. San Pedro, stopping their
    8        vehicle in the number 2 lane just north of East 22nd Street adjacent to two
    9        parked vehicles.
   10 19.    Both officers exited the vehicle, immediately drawing their weapons. The
   11        passenger officer, DOE Officer 1, positioned himself behind the first parked
   12        vehicle at or near the trunk pointing his firearm at Norma Guzman. DOE
   13        Officer 1 then ordered Norma Guzman to approach. She complied and
   14        walked towards the officers as ordered.
   15 20.    The driver officer, DOE Officer 2, walked around the back of his police
   16        vehicle and positioned himself behind the first officer also pointing his gun
   17        towards Norma Guzman. Norma Guzman walked slowly, and in a semi-
   18        stumbling and non-threatening fashion, southbound on the sidewalk of San
   19        Pedro Street. As she neared the location of the officers, DOE Officer 1,
   20        without cause or provocation, fired his semi-automatic weapon twice at
   21        Norma Guzman. Immediately thereafter, DOE Officer 2 also fired his semi-
   22        automatic weapon twice at Norma Guzman. Following the shooting, Norma
   23        Guzman immediately fell back onto the sidewalk. The entire incident, from
   24        the time the officers exited the vehicle to the time Norma Guzman fell back
   25        onto the sidewalk, took place within 10 seconds.
   26 21.    There were no persons standing in the vicinity of the DOE officers and
   27        Norma Guzman did not threaten or otherwise pose an immediate threat of
   28        death or serious bodily injury to defendant DOE officers. There was no

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Case 2:15-cv-07932-JAK-FFM Document 14 Filed 02/19/16 Page 6 of 11 Page ID #:125



    1        reasonable basis for them to shoot her.
    2 22.    The gunshots that struck Norma Guzman caused her great pain and suffering.
    3        Some time after being shot, she died on the street where she fell, however,
    4        she was taken to a nearby hospital where she was pronounced dead.
    5                             FIRST CLAIM FOR RELIEF
    6                        Excessive Force/Unreasonable Seizure
    7                                     42 U.S.C. § 1983
    8                    Against Defendants DOE Officers 1 through 5
    9 23.    Plaintiff Estate of Norma Guzman, by and through successor in interest,
   10        Gloria Gonzalez, repeats and re-alleges each and every allegation in
   11        paragraphs 1 through 22 of this Complaint with the same force and effect as
   12        if fully set forth herein.
   13 24.    At the time that Norma Guzman was shot, she was not engaging in, nor had
   14        she engaged in, any assaultive or threatening conduct. Under the totality of
   15        the relevant circumstances that existed, she posed no danger or threat to
   16        defendant DOE Officers or anyone else. The shooting and killing of Norma
   17        Guzman was unreasonable under the circumstances in every respect.
   18 25.    When defendant DOE Officers shot and killed Norma Guzman, they violated
   19        Norma Guzman’s right to be free from unreasonable seizures as guaranteed
   20        under the Fourth Amendment to the United States Constitution.
   21 26.    After being shot by DOE Officers, Norma Guzman endured great physical
   22        and emotional pain and suffering.
   23 27.    DOE Officers’ shooting and killing of Norma Guzman was willful and done
   24        with a deliberate disregard for the rights and safety of Norma Guzman and,
   25        therefore, warrants the imposition of punitive damages as to defendant DOE
   26        Officers 1 through 5.
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Case 2:15-cv-07932-JAK-FFM Document 14 Filed 02/19/16 Page 7 of 11 Page ID #:126



    1                            SECOND CLAIM FOR RELIEF
    2                      Municipal Liability for Unconstitutional
    3                                Customs and Practices
    4                                    42 U.S.C. § 1983
    5         Against Defendants City of Los Angeles and DOES 6 through 10
    6 28.    Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
    7        through 27 of this Complaint with the same force and effect as though fully
    8        set forth herein.
    9 29.    On and before September 27, 2015, and prior to the shooting of Norma
   10        Guzman, Defendant City of Los Angeles and DOES 6 through 10 were
   11        aware that Defendant DOE Officers 1 through 5, and various other LAPD
   12        officers, had not received proper and necessary training in safely dealing
   13        with and managing persons with mental illnesses.
   14 30.    Defendants City of Los Angeles and DOES 5 through 10, acting with
   15        deliberate indifference to the rights and liberties of the public in general, and
   16        of the present plaintiffs and decedent, and of persons in their class, situation
   17        and comparable position, knowingly allowed officers to undertake patrol in
   18        the City of Los Angeles without proper training in the handling of persons
   19        with mental illness. Said defendants knew that such untrained officers
   20        would encounter persons with mental illnesses and would respond with
   21        inappropriate and excessive force.
   22 31.    By reason of the aforementioned custom and practice, Norma Guzman was
   23        severely injured and subjected to pain and suffering and lost her life.
   24 32.    Defendants CITY and DOES 6 through 10 together with various other
   25        officials, whether named or unnamed, had either actual or constructive
   26        knowledge of the deficient practice and custom alleged in the paragraphs
   27        above. Despite having knowledge as stated above these defendants
   28        condoned, tolerated and through actions and inactions thereby ratified such

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Case 2:15-cv-07932-JAK-FFM Document 14 Filed 02/19/16 Page 8 of 11 Page ID #:127



    1        custom and practice. Said defendants also acted with deliberate indifference
    2        to the foreseeable effects and consequences of these custom/practice with
    3        respect to the constitutional rights of decedent, Plaintiffs, and other
    4        individuals similarly situated.
    5 33.    This practice and custom implemented and maintained and still tolerated by
    6        Defendant CITY were affirmatively linked to and were a significantly
    7        influential force behind the injuries of decedent and Plaintiffs.
    8 34.    By reason of the aforementioned acts and omissions Norma Guzman was
    9        killed and mother suffered the loss of her love, affection, society and moral
   10        support.
   11 35.    Accordingly, Defendant CITY and DOES 6 through 10 are liable to
   12        Plaintiffs for compensatory damages pursuant to 42 U.S.C. § 1983.
   13                             THIRD CLAIM FOR RELIEF
   14                          Interference with Familial Integrity
   15                          Substantive Due Process Violation
   16                                     42 U.S.C. § 1983
   17                       Against Defendants City of Los Angeles,
   18                                 and DOES 1 through 10
   19 36.    Plaintiff Gloria Gonzalez repeats and re-alleges each and every allegation in
   20        paragraphs 1 through 35 of this Complaint with the same force and effect as
   21        if fully set forth herein.
   22 37.    The present claim is brought pursuant to 42 U.S.C., section 1983, for
   23        violation of the right of familial integrity guaranteed by the Fourteenth
   24        Amendment of the U.S. Constitution.
   25 38.    As alleged above, the shooting of Norma Guzman was unreasonable under
   26        the circumstances of the encounter between Norma Guzman and Defendant
   27        DOE Officers 1 through 5. As such, the shooting and killing of Norma
   28        Guzman violated the constitutional limits on police use of deadly force; i.e.,

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Case 2:15-cv-07932-JAK-FFM Document 14 Filed 02/19/16 Page 9 of 11 Page ID #:128



    1        the Fourth Amendment’s limits on unreasonable seizures.
    2 39.    At the same time, the shooting and killing of Norma Guzman by DOE
    3        Officers 1 through 5 violated the rights of Gloria Gonzalez to be free from
    4        police interference in her relationship with Norma Guzman.
    5 40.    The unreasonable conduct of DOE Officers was the direct and proximate
    6        cause of the death of Norma Guzman. As a result of the unreasonable
    7        conduct of DOE Officers , plaintiff Gloria Gonzalez lost Norma Guzman as
    8        well as her love, affection, society and moral support.
    9 41.    DOE Officers’ shooting and killing of Norma Guzman was willful and done
   10        with a deliberate disregard for the rights and safety of Norma Guzman and
   11        therefore warrants the imposition of punitive damages as to defendants Doe
   12        Officers 1 through 5.
   13 42.    DOE Officers’ shooting and killing of Norma Guzman was willful and done
   14        with a deliberate disregard for the rights of Gloria Gonzalez and therefore
   15        warrants the imposition of punitive damages as to defendant DOE Officers 1
   16        through 5.
   17                                PRAYER FOR RELIEF
   18        WHEREFORE, Plaintiffs requests entry of judgment in their favor and
   19        against Defendants as follows:
   20        A.    For compensatory damages in the amount to be proven at trial;
   21        . .
             B     For punitive damages against defendant DOE Officers 1 through 5 in
   22              an amount to be proven at trial;
   23        C.    For interest;
   24        D.    For reasonable costs of this suit and attorneys' fees, including attorneys
   25              fees pursuant to 42 U.S.C. § 1988; and;
   26        E.    For such further other relief as the Court may deem just, proper, and
   27              appropriate.
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Case 2:15-cv-07932-JAK-FFM Document 14 Filed 02/19/16 Page 10 of 11 Page ID #:129



     1 Respectfully Submitted,
     2 Dated: February 16, 2016     CASILLAS & ASSOCIATES
     3
                                    By     /s/ Arnoldo Casillas
     4                                    ARNOLDO CASILLAS
                                          DANIEL W. GILLETTE
     5                                    ATTORNEY FOR PLAINTIFFS
                                          ESTATE OF NORMA GUZMAN by and
     6                                    through successor in interest Gloria Gonzalez,
                                          and Gloria Gonzalez, individually
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Case 2:15-cv-07932-JAK-FFM Document 14 Filed 02/19/16 Page 11 of 11 Page ID #:130



     1
                                  DEMAND FOR JURY TRIAL
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              COME NOW PLAINTIFFS ESTATE OF NORMA GUZMAN, and GLORIA
     3
         GONZALEZ and demand a trial by jury.
     4
     5
     6 Dated: February 18, 2016           CASILLAS & ASSOCIATES
     7
                                     By   /s/ Arnoldo Casillas
     8                                    ARNOLDO CASILLAS
                                          DANIEL W. GILLETTE
     9                                    ATTORNEYS FOR PLAINTIFFS
                                          ESTATE OF NORMA GUZMAN by and
    10                                    through successor in interest Gloria Gonzalez,
                                          and Gloria Gonzalez, individually
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